           Case 1:20-cv-11297-PBS Document 157 Filed 05/06/24 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
BAGLY, et al.,                       )
                                     )
        Plaintiffs,                  )
                                     )
v.                                   ) C.A. No. 20-cv-11297-PBS
                                     ) (Leave to file granted 5/6/24)
UNITED STATES DEPARTMENT             )
OF HEALTH AND HUMAN SERVICES, )
et al.,                              )
                                     )
        Defendants.                  )
____________________________________)

       REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO STAY SUMMARY
         JUDGMENT BRIEFING PENDING RESOLUTION OF MOOTNESS
       Throughout this case, Plaintiffs have repeatedly characterized this action as one

challenging a 2020 Rule. But a new final rule issued by the Department of Health and Human

Services supersedes that rule, rendering moot Plaintiffs’ challenge to the superseded rule under a

“well-settled principle of law.” Akiachak Native Cmty. v. U.S. Dep’t of Interior, 827 F.3d 100,

113 (D.C. Cir. 2016). The Court “cannot bypass this inquiry when the record reveals mootness

may be an issue.” Harris v. Univ. of Mass. Lowell, 43 F.4th 187, 191 n.7 (1st Cit. 2022).

       Because the new final rule was made available for public inspection only one week ago,
Defendants sought a stay of proceedings to permit Plaintiffs a reasonable opportunity to review

the content of the new rule before taking a final position on mootness. Defendants also believed,

to the extent Plaintiffs took the position that their case was not moot, the parties should confer so

that Defendants could understand the basis of Plaintiffs’ position, again, given the well-settled

principle that when an agency has replaced a challenged regulation, litigation over the legality of

the prior regulation becomes moot.1 Undoubtedly, it would be more efficient for the parties to

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         In APA challenges to rules, plaintiffs traditionally recognize this principle and voluntarily
dismiss the challenge to an old rule once a new superseding rule is issued. E.g. Pennsylvania v.
Cardona, No. 20-cv-1468 (D.D.C.); Hunger v. HHS, 21-cv-475 (S.D.N.Y.); Lujan v. U.S. Dep’t
         Case 1:20-cv-11297-PBS Document 157 Filed 05/06/24 Page 2 of 3




address the mootness dispute if they both understand the scope of the dispute.

       Based on Plaintiffs’ opposition, they appear to have decided that they do not think their

claims are moot and that they do not want to tell Defendants why. Thus, the best course of action

is for the Court to stay summary judgment briefing regarding the old rule so the parties can brief

mootness. Defendants are prepared to submit a memorandum of law in support of their assertion

of mootness at the Court’s direction, if the Court deems one necessary. But given the well-settled

mootness principles at issue—issues that appellate courts would normally handle “in an

unpublished order,” Akiachak, 827 F.3d at 113 (quoting Freeport-McMoRan Oil & Gas Co. v.

FERC, 827 F.2d 45, 46 (D.C. Cir. 2000))—it would be reasonable for the Court to order the

Plaintiffs to show cause why this case should not be dismissed as moot. See, e.g, Order for

Expedited Response, Chancey v. Biden, No. 1:22-cv-00110-MW-ZCB (N.D. Fla. Jan. 25, 2023),

ECF No. 27; New York v. Raimondo, No. 1:19-cv-09380-MKV, 2021 WL 1339397, at *1

(S.D.N.Y. Apr. 9, 2021) (Court ordered “Plaintiffs to show cause why this case should not be

dismissed as moot given the promulgation” of superseding rule.); Fed. R. Civ. P. 12(h)(3).

       In no circumstance should the Court require Defendants to brief mootness alongside

summary judgment on a rule that has been superseded. Rather than address the equities of a

momentary stay of summary judgment briefing, Plaintiffs’ opposition first raises a straw man—

the burden of proof, ECF No. 153 at 1-2–which has no bearing on whether the mootness dispute

should be resolved independently of summary judgment briefing. Plaintiffs’ opposition to the stay

motion fails to identify a single reason that such a stay would prejudice them, let alone provide the

type of “showing of irreparable harm” that might justify denying a stay. ECF No. 83 at 3. And

contrary to Plaintiffs’ assertion that Defendants offered no reason for a stay, ECF No. 153 at 2,

Defendants explained in their opening brief that combined briefing would be inefficient and



of Educ., 3:22-cv-00159 (W.D. Tex.); Humane Society of the U.S. v. USDA, No. 1:19-cv-02458
(D.D.C.); Mayor and City Council of Baltimore v. Becerra, No. 1:19-cv-01672 (D. Md.); Found.
for Gov’t Accountability v. HHS, No. 2:23-cv-00207 (M.D. Fla.).
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         Case 1:20-cv-11297-PBS Document 157 Filed 05/06/24 Page 3 of 3




inconsistent with the Court’s obligation to assure itself of jurisdiction before considering the merits

of an assuredly moot challenge to an old rule, ECF No. 151 at 3-6. “[A] momentary stay eliminates

the unappealing prospect of the parties’ continuing commitment of resources to . . . issues—some,

most, or all of which are likely moot.” Colonel Fin. Mgmt. Officer v. Austin, No. 8:22-cv-01275-

SDM-TGW (M.D. Fla. Jan. 20, 2023), ECF No. 277. Requiring Defendants to brief the merits of

Plaintiffs’ claims and requiring the Court to review all of that merits briefing before first

contemplating mootness would be a waste of judicial and party resources. “[I]t makes little sense

for the Court to require merits briefs” in this circumstance. ECF No. 83 at 3; see also Whitman-

Walker Clinic, Inc. v. HHS, No. 20-cv-1630, 2021 WL 4033072, at 3 (D.D.C. Sept. 3, 2021)

(rejecting similar approach requiring “a substantial amount of the parties’ and the Court’s

resources [to] have been expended and potentially for little gain”).

                                          CONCLUSION

       For the foregoing reasons, the Court should stay summary-judgment briefing pending

resolution of mootness. The Court should also enter a briefing schedule for addressing mootness

or order the parties to submit a proposed briefing schedule to address mootness.

 Dated: May 6, 2024                                   Respectfully submitted,
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